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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

LUIS ARAÑA,

                           Petitioner,                Nos. 03-CV-73023
vs.                                                       95-CR-80272

UNITED STATES OF AMERICA,

                      Respondent.
_________________________________/

                                         JUDGMENT

                            At a session of said Court, held in
                           the U.S. Courthouse, Detroit, Michigan
                           on       February 24, 2009

                           PRESENT: Honorable Gerald E. Rosen
                                    Chief Judge, United States District Court

      The Court having this date entered an Opinion and Order denying Petitioner’s §

2255 Motion to Vacate, Set Aside or Correct Sentence, and being fully advised in the

premises,

      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Petitioner Luis

Araña’s § 2255 Motion to Vacate, Set Aside or Correct his Sentence be, and hereby is,

DENIED. Accordingly,

      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Civ. No. 03-

73023 be, and hereby is, DISMISSED, with prejudice.

                           s/Gerald E. Rosen
                           Chief Judge, United States District Court
Dated: February 24, 2009
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I hereby certify that a copy of the foregoing document was served upon counsel of record
on February 24, 2009, by electronic and/or ordinary mail.

                           s/LaShawn R. Saulsberry
                           Case Manager
